 Case 2:23-cv-07441-AB-PVC      Document 55 Filed 08/30/24   Page 1 of 3 Page ID
                                      #:592



 1   Frank S. Hedin (SBN 291289)
     Hedin LLP
 2   535 Mission Street, 14th Floor
 3   San Francisco, CA 94105
     Telephone: (305) 357-2107
 4   Facsimile: (305) 200-8801
 5   E-Mail:     fhedin@hedinllp.com
 6   Counsel for Plaintiffs and the Putative Class
 7
 8                 UNITED STATES DISTRICT COURT FOR THE
 9                     CENTRAL DISTRICT OF CALIFORNIA
10
11
     TESSIBLE “SKYLER” FOSTER;                 2:23−cv−07441−AB−PVC
12
     MARIE SCOTT; and KRISTA
13   BAUMBACH                                   PLAINTIFFS’ NOTICE OF
                                                UNOPPOSED MOTION FOR
14                                              PRELIMINARY APPROVAL OF
15               PLAINTIFFS,                    CLASS ACTION SETTLEMENT
16   V.
     800-FLOWERS, INC., D/B/A 1-800- Judge: Hon. André Birotte, Jr.
17   FLOWERS.COM, HARRY & DAVID, Date: September 27, 2024 at 10:00
                                     a.m.
18   PERSONALIZATION MALL,
     SHARI’S BERRIES, 1-800-
19
     BASKETS.COM, SIMPLY
20   CHOCOLATE, FRUIT
21   BOUQUETS.COM, CHERYL’S
     COOKIES, THE POPCORN
22   FACTORY, WOLFERMAN’S
23   BAKERY, AND VITAL CHOICE,
24
25               DEFENDANT.
26
27
28

                                   NOTICE OF MOTION
     Case 2:23-cv-07441-AB-PVC      Document 55 Filed 08/30/24       Page 2 of 3 Page ID
                                          #:593



 1
           TO 800-FLOWERS, INC., AND ITS COUNSEL OF RECORD:
 2
 3          PLEASE TAKE NOTICE that on Friday September 27, 2024 at 10:00 a.m.,
 4   or as soon thereafter as this matter may be heard in the United States District Court
 5
 6   for the Central District of California, 350 West First Street, Los Angeles, CA 90012,

 7   Courtroom 7B, Plaintiffs Tessible “Skyler” Foster, Marie Scott, and Krista
 8
     Baumbach (“Plaintiffs”), on behalf of themselves and all others similarly situated,
 9
10   by and through their counsel of record, will and hereby do move on an unopposed
11
     basis, on agreement of the Parties, for an order from the Court granting preliminary
12
13   approval of the Class Action Settlement pursuant to Federal Rule of Civil Procedure
14   23(e). The motion will be based on this Notice of Motion, the Motion, the
15
     Memorandum of Points and Authorities, Declarations and Exhibits filed herewith,
16
17   the pleading and papers filed in this action, as well as any further documentation
18
     submitted to the Court and oral argument of counsel.
19
20         L.R. 7-3 Conference Statement:         This Motion is made following the
21   conference of counsel, which took place on July 24, 2024 and thereafter and is
22
23   unopposed.

24
25
26
27
28


                                              2
     Case 2:23-cv-07441-AB-PVC   Document 55 Filed 08/30/24      Page 3 of 3 Page ID
                                       #:594



 1
 2   Dated: August 30, 2024            Respectfully submitted,
 3                                     HEDIN LLP
 4                                     By: s/ Frank S. Hedin         .
                                       FRANK S. HEDIN (SBN 291289)
 5
                                       535 Mission Street, 14th Floor
 6                                     San Francisco, CA 94105
 7                                     Telephone: (305) 357-2107
                                       Facsimile: (305) 200-8801
 8                                     E-Mail:      fhedin@hedinllp.com
 9                                     Counsel for Plaintiffs and
10                                     the Proposed Settlement Class
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


                                          3
